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                       Colonel Peter R. Marksteiner and Jarrett Perlow
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                       United States Court of Appeals for the Federal Circuit
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                       Washington, D.C. 20439

                       Re: In re Apple Inc., No. 24-129

                       Dear Col. Marksteiner and Mr. Perlow:

                       Resonant submits a highlighted copy of the recent, binding Fifth Circuit decision
                       In re Chamber of Com. of United States of Am., No. 24-10463, --- F. 4th ---, 2024
                       WL 3042100 (5th Cir. June 18, 2024), attached hereto.
                       The Fifth Circuit ruled that even when “the rationale for speed is no longer present”
                       and “[t]here is no special circumstance,” the court congestion factor still receives
                       weight in the transfer analysis, albeit not “more heavily.” Id. at *10.
                       This overrules the conflicting Federal Circuit case In re Google LLC, 58 F.4th 1379,
                       1383 (Fed. Cir. 2023). In re Google ruled that this factor receives no weight for
                       lacking “urgency” of resolution absent the special circumstance of “competition in
                       the marketplace.” Id. This court erred by requiring either a rationale for speed or
                       the special circumstance of marketplace competition for the court congestion factor
                       to matter.
                       This Court should explicitly find In re Google overruled by In re Chamber of
                       Commerce. In re Google was bad law when it issued because none of the cases
                       cited therein found the court congestion factor should receive no weight at all, much
                       less impose a competitor or urgency requirement. At best, this factor cannot weigh
                       more heavily in noncompetitor cases, but it must still receive weight.
                       Page 13 of Resonant’s opposition explains why the Fifth Circuit is binding on
                       procedural issues. In re Chamber of Commerce directly supports the argument
                       raised on pages 30–31 of Resonant’s opposition, explaining why In re Google is
                       unfair and unjust.
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                   !   Respectfully submitted,
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                             CERTIFICATE OF COMPLIANCE

       I certify that the foregoing letter complies with the requirements of Fed. R. App. P. 28(j)

and that the body of the letter contains 253 words.

                                                      /s/ Peter Tong
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                                                                   Petition from the United States District Court for the Northern
                    2024 WL 3042100
                                                                   District of Texas, USDC No. 4:24-CV-213
      Only the Westlaw citation is currently available.
       United States Court of Appeals, Fifth Circuit.
                                                                   Before Haynes, * Willett, and Duncan, Circuit Judges.
  IN RE CHAMBER OF COMMERCE OF the UNITED                          Opinion
      STATES OF AMERICA; Fort Worth Chamber
    of Commerce; Longview Chamber of Commerce;                     Don R. Willett, Circuit Judge:
    American Bankers Association; Consumer Bankers
                                                                    *1 This case returns to the circuit on a second petition for a
  Association; Texas Association of Business, Petitioners.
                                                                   writ of mandamus. The panel has changed, but the requested
                        No. 24-10463                               relief remains the same.
                              |
                     FILED June 18, 2024                           Plaintiffs are a group of various business associations,
                                                                   including one located in Fort Worth, who are challenging a
Synopsis                                                           new Final Rule issued by the Consumer Financial Protection
Background: Business associations brought action                   Bureau (CFPB) regarding credit card late fees. Plaintiffs
challenging legality of Consumer Financial Protection              contend the district court abused its discretion by transferring
Bureau (CFPB) final rule regarding credit card late fees           its challenge to the United States District Court for the District
filed petition of writ of mandamus alleging that the United        of Columbia.
States District Court for the Northern District of Texas, Mark
T. Pittman, J., 2024 WL 2724181, abused its discretion by          This young case already has a byzantine procedural history,
transferring their challenge to United States District Court for   but what's important for the moment is that the district
the District of Columbia.                                          court transferred venue—twice—under 28 U.S.C. § 1404(a).
                                                                   The first time, a different panel issued a writ of mandamus
                                                                   because the district court lacked jurisdiction to transfer the
                                                                   case under the one-court-at-a-time rule: Plaintiffs' appeal of
Holdings: The Court of Appeals, Willett, Circuit Judge, held
                                                                   the effective denial of its preliminary-injunction motion was
that:
                                                                   pending before us when the district court transferred venue. 1
district court clearly abused its discretion by considering        Because that previous mandamus ruling was jurisdictional,
convenience of counsel in evaluating United States' motion         we had no reason to reach whether the district court had
to transfer;                                                       properly transferred the case under § 1404(a).


district court clearly abused its discretion when it determined    Now we do. With abiding respect for our district court
that localized interests favored transferring venue;               colleague, we conclude that the transfer order misapplied the
                                                                   controlling § 1404(a) standard for transferring cases (and our
district court did not abuse its discretion in finding that        precedent applying that standard), and the § 1404(a) transfer
administrative difficulties flowing from court congestion          order was a clear abuse of discretion. We accordingly dissolve
weighed in favor of transferring venue; and                        our earlier administrative stay, grant Plaintiffs' petition for a
                                                                   writ of mandamus, and direct the district court to vacate its
issuance of writ of mandamus directing district court to vacate    transfer order. 2
its transfer order was warranted.


                                                                                                   I
Petition granted.
                                                                   The Credit Card Accountability and Disclosure Act directs
Procedural Posture(s): Petition for Writ of Mandamus.              CFPB to “establish standards for assessing whether” credit
                                                                   card late fees are “reasonable and proportional” to the




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“omission or violation to which the fee or charge relates.” 3      On May 28, CFPB moved to transfer the case to D.D.C. a
To that end, it authorizes CFPB to issue rules to designate a      second time. That same day, the district court did so, noting
“safe harbor” fee amount that is presumed to be reasonable         that CFPB had renewed its motion but instead ruling on
                                                                   the initial motion to transfer. Notwithstanding our recent
and proportional. 4 On March 5, 2024, CFPB announced
                                                                   exhortation in another case that district courts should stay
a Final Rule that decreases the previously applicable safe-
                                                                   their venue-transfer orders for a short period to allow for
harbor amount for late fees charged by the nation's largest
                                                                   appellate review—an action we described as “especially
credit card issuers from $30 and $41 to $8. The rule was
                                                                   deserving of commendation” 16 —the district court did not do
originally set to take effect on May 14. 5
                                                                   so, so later that night, the Chamber petitioned for a writ of
                                                                   mandamus and requested a stay.
Two days after the announcement, on March 7, the Fort Worth
Chamber of Commerce 6 sued CFPB in the Northern District           Before the D.D.C. docketed the case, we administratively
of Texas, moved for a preliminary injunction, and requested a      stayed the district court's transfer order until June 18,
ruling within 10 days. 7 The district court did not immediately    2024, pending our more considered view of the mandamus
rule on that motion 8 but instead invited CFPB to file a motion    petition. 17
to transfer venue under § 1404(a). The Chamber appealed on
March 25, arguing that the district court had effectively denied
its motion for a preliminary injunction by failing to rule on
                                                                                                  II
it. 9
                                                                    *3 The standards for changing venue are found in 28
 *2 On March 28, the district court granted CFPB's motion          U.S.C. § 1404. Subsection (a) specifically permits a district
to transfer the case under § 1404(a) to the United States          court to “transfer any civil action to any other district or
District Court for the District of Columbia (D.D.C.). The          division where it might have been brought” if it is “[f]or the
Chamber filed an emergency petition for mandamus the next          convenience of parties and witnesses” and “in the interest of
day. 10 We granted the petition and held that the district         justice.”
court lacked jurisdiction to transfer the case. “Because the
plaintiffs appealed the district court's effective denial of       In general, a plaintiff is “master of the complaint,” 18 and, as
their preliminary-injunction motion before the district court      the Supreme Court has admonished, “[t]he Court must [ ] give
granted the motion to transfer the case,” we explained, “the       some weight to the plaintiffs' choice of forum.” 19 That venue
district court acted without jurisdiction.” 11 We accordingly      choice should be respected so long as plaintiffs meet certain
vacated the district court's effective denial of the Chamber's     requirements. 20 Put another way, “Plaintiffs are permitted
motion for a preliminary injunction. 12 We later issued a          to engage in a certain amount of forum shopping,” though
limited remand, instructing the district court to rule on the      Congress has limited that privilege by enacting § 1404(a),
preliminary-injunction motion by May 10.                           through which “[d]efendants can protect themselves from the
                                                                   most blatant forum-shopping.” 21 While deference is given
On May 10, the district court entered a preliminary injunction
                                                                   to a plaintiff's initial choice of venue, 22 “[t]he underlying
and stayed the Final Rule. It relied on our then-binding
                                                                   premise of § 1404(a) is that courts should prevent plaintiffs
decision in Community Financial Services Association, Ltd.
                                                                   from abusing their privilege under § 1391 by subjecting
v. CFPB, which held that Congress's decision to “abdicate its
                                                                   defendants to venues that are inconvenient under the terms of
appropriations power” to CFPB “violates the Constitution's
                                                                   § 1404(a).” 23
structural separation of powers.” 13 Days later, on May 16,
the Supreme Court reversed that decision. 14                        *4 Concerns about inconvenience predate the enactment of
                                                                   § 1404(a). Recognizing that some plaintiffs may choose an
We then dismissed the appeal of the effective denial 15 and        inconvenient venue to harass defendants, the Supreme Court
issued the mandate on May 24, returning full jurisdiction to       “established in the federal courts the common-law doctrine
the district court.                                                of forum non conveniens” in Gulf Oil Corp. v. Gilbert. 24




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Congress enacted § 1404(a) in 1948, the year after Gilbert
was decided.                                                         The private interest factors are: (1) the relative ease
                                                                     of access to sources of proof; (2) the availability of
Section 1404(a) differs from forum non conveniens in two             compulsory process to secure the attendance of witnesses;
key respects. First, instead of requiring the dismissal of           (3) the cost of attendance for willing witnesses; and (4)
a case because of inconvenient venue, § 1404(a) provides             all other practical problems that make trial of a case easy,
that “the remedy under the statute is simply a transfer              expeditious and inexpensive.
of the case within the federal system to another federal
                                                                      *5 The public interest factors are: (1) the administrative
venue more convenient to the parties, the witnesses, and
                                                                     difficulties flowing from court congestion; (2) the local
the trial of the case.” 25 Second, § 1404(a) contains a              interest in having localized interests decided at home; (3)
different standard for transfer. While forum non conveniens          the familiarity of the forum with the law that will govern
“traditionally imposed” a “heavy burden” on defendants               the case; and (4) the avoidance of unnecessary problems of
because it permitted dismissal “only in favor of a substantially
                                                                     conflict of laws [or in] the application of foreign law. 35
more convenient alternative,” this burden “was dropped in the
§ 1404(a) context.” 26 The statute allows transfer “[f]or the      “No factor is of dispositive weight, and we have cautioned
convenience of the parties and witnesses, in the interest of       against a ‘raw counting of the factors’ that ‘weigh[s] each the
justice.” 27 Because of these changes, the Supreme Court has       same.’ ” 36
explained that Congress “intended to do more than just codify
the existing law on forum non conveniens” by permitting            There are two steps to the transfer analysis. “First, the district
transfers; rather, Congress “intended to permit courts to grant    court must ask whether the case ‘might have been brought’ in
transfers upon a lesser showing of inconvenience.” 28              the destination venue,” and “[s]econd, the district court must
                                                                   weigh the private and public interest factors.” 37
Fleshing out § 1404(a)'s requirements, we have held that the
party “who seeks the transfer must show good cause.” 29
And we recently went to pains to underscore exactly what                                           A
“good cause” means. “At minimum,” we stated just a few
months ago, “showing ‘good cause’ requires the movant              The district court held, and no party disputes, that this case
clearly [to] demonstrate that its chosen venue is clearly more     “might have been brought” in D.D.C. under 28 U.S.C. § 1391.
convenient.” 30 We continued: “It is the movant's burden—          We agree. So we turn to the eight factors (four private-interest
and the movant's alone—to ‘adduce evidence and arguments           and four public-interest), and here we run into significant
                                                                   problems.
that clearly establish good cause ....’ ” 31

Importantly, we made clear that this “standard is not met if
the movant merely shows that the transferee venue ‘is more                                         B
likely than not to be more convenient.’ Likewise, ‘the fact
                                                                   First, the private-interest factors.
that litigating would be more convenient for the defendant
elsewhere is not enough to justify transfer.’ ” 32 The bar is      The district court held that the first three private-interest
much higher: “to establish ‘good cause,’ a movant must show        factors—“relative ease of access to sources of proof,”
(1) that the marginal gain in convenience will be significant,     “availability of compulsory process to secure the attendance
and (2) that its evidence makes it plainly obvious—i.e.,           of witnesses,” and “the cost of attendance for willing
clearly demonstrated—that those marginal gains will actually
                                        33
                                                                   witnesses” 38 —are neutral. Neither party argues that the
materialize in the transferee venue.”                              district court weighed these factors incorrectly. But they hotly
                                                                   dispute whether the district court clearly abused its discretion
In determining whether the movant has “clearly                     in concluding that the fourth factor—“all other practical
demonstrated” good cause, courts must consider four private-       problems that make trial of a case easy, expeditious, and
interest factors and four public-interest factors. 34 Here they    inexpensive” 39 —weighs in favor of transfer.
are:


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The district court determined that factor (4) weighs in favor       If there is no basis to consider the location of counsel as a
of transfer because most of the lawyers in this case are in D.C.    standalone factor under § 1404(a), we see no reason why the
Thus, it reasoned that “any proceeding this Court conducts ...      location of counsel should be considered under the fourth
will require all of Defendants' counsel and two-thirds of           private-interest factor. Courts must not lose sight of the
Plaintiffs' counsel to travel to Fort Worth—a task that will be     convenience of parties when analyzing each factor. When the
charged to their clients or to the government,” which in turn       location of counsel is brought up in a context where transfer
will require taxpayers to “foot an unnecessarily expensive bill     would make litigating the case more or less convenient for the
for this litigation.” The district court acknowledged that we       attorneys, it is irrelevant to consider—and thus improper to
have previously held that the location of counsel is “irrelevant    consider—because it does not affect the convenience of the
and improper for consideration in determining the question of       parties. And when it comes to the convenience of plaintiffs'
transfer of venue.” 40 But it tried to distinguish our holding on   attorneys, this makes particular sense because plaintiffs are
the basis that we only “held that location of counsel cannot in     the “master[s] of the complaint” 46 and can choose the venue
itself be a factor.” Because “[s]ubstantive travel is certainly a   when filing their case. “That characterization would mean
practical factor that makes a trial more expensive,” the district   very little if the travel costs of the plaintiffs' lawyers could
court reasoned, the location of counsel could be considered         be used to oppose the plaintiffs' own choice of venue.” 47
under factor (4).                                                   As to defendants' counsel, “[w]hen a defendant is haled into
                                                                    court, some inconvenience is expected and acceptable.” 48
The private-and public-interest factors derive from caselaw
                                                                    And travel costs associated with litigation are a presumed
applying the doctrine of forum non conveniens, 41 and               part of that inconvenience. The only argument in this case is
“[t]raditional forum non conveniens doctrine regarded the           that transfer would be more convenient for the attorneys and
convenience and the availability of counsel as a factor to be       decrease costs. Consequently, the location of counsel is not
considered on a motion to dismiss.” 42 Yet “the great majority      a practical problem that would affect the convenience of the
of” courts, including ours, has not considered this factor under    parties in this case.
§ 1404(a), “saying either that it is ‘irrelevant’ or ‘improper’
to consider, or that it is to be given very little weight by the     *7 Nothing we've said thus far is changed by the fact that the
district court.”   43
                        Why the different treatment?                defendant's attorneys are government attorneys concentrated
                                                                    in D.C. In fact, we stated 40-plus years ago that the location
   *6 First, though Section 1404(a) expressly refers to             of an agency's attorneys should not be considered when we
  convenience of parties and witnesses, it is silent about          made an alternative holding that a transfer would not be
  counsel.                                                          warranted under an identical standard (“for the convenience
                                                                    of the parties in the interest of justice”) from another statute,
  Second, many law firms today practice on a national               28 U.S.C. § 212(a):
  basis, especially in several substantive areas of federal
  jurisprudence, and local counsel usually is available for
  appearances in court.
                                                                                 [W]e accord little weight to the
  Moreover, travel is easier than it once was. Of course, the
                                                                                 fact that the Commission is located
  particular circumstances of a case may affect the district
                                                                                 in the District of Columbia....
  court's attitude toward the location of counsel. 44                            Congress, presumably knowing where
                                                                                 the Commission would, or would
Our precedent has rejected the consideration of counsel's
                                                                                 likely, be located, gave no preference
location largely because of the first rationale. In Volkswagen I,
                                                                                 to the District of Columbia as the
we stated that “[t]he word ‘counsel’ does not appear anywhere
                                                                                 venue for review of Commission
in § 1404(a), and the convenience of counsel is not a factor
                                                                                 orders. Congress, in effect, left the
to be assessed in determining whether to transfer a case
                                                                                 initial venue choice to the petitioning
under § 1404(a).” 45 Because § 1404(a) is concerned with the                     parties, not to the Commission. We do
convenience of parties, not attorneys, we do not consider the                    not find the location of the attorneys a
convenience of counsel.                                                          significant basis for determining venue


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             here.... [M]any of the petitioners in this              transfer here. The district court clearly abused its discretion
             Court are represented by Washington,                    by considering the convenience of counsel under this factor.
             D. C. counsel, such petitioners are also
             represented by counsel from within
             this Circuit and representation by
                                                                                                    C
             Washington, D. C. counsel may in
             large part merely reflect the fact that                 *8 Second, the public-interest factors.
             proceedings before the Commission
             took place there. In any event, the                     The district court concluded that two of the public-interest
             convenience of the parties, not of                      factors weighed in favor of transfer, while the other two
             their counsel, is the more appropriate                  were neutral. No party challenges the district court's holding
             concern, and the petitioners in this                    that the “familiarity of the forum with the law that will
             Court have expressed their desire for                   govern the case” and “avoidance of unnecessary problems
             venue to be in this Circuit. 49                         of conflict of laws [or in] the application of foreign law”
                                                                     factors are neutral. 52 But the Chamber contends that the
                                                                     district court abused its discretion in finding that the “local
This reasoning remains spot on. If Congress wants to enshrine        interest in having localized interests decided at home” and
D.D.C. as a venue for APA challenges or cases where a                “administrative difficulties flowing from court congestion”
federal agency or other D.C.-based government actor is               factors weigh in favor of transfer. 53
the defendant, it can easily do so. But it hasn't. Instead,
it determined that § 1404(a) would apply no differently
in these circumstances. Allowing federal defendants to cite
government counsel's convenience and travel costs as a                                              1
talismanic way to wire around § 1404(a)'s text (and our
                                                                     The district court determined that the localized-interests
precedent) would amass federal judicial power in the District
                                                                     factor weighs in favor of transfer because “[t]he case chiefly
of Columbia. Neither Congress's words, the wealth of
                                                                     involves out-of-state Plaintiffs challenging the actions of
precedent construing those words, nor our federalist system
                                                                     government officials taken in the District of Columbia.” It
permit such a peculiar result.
                                                                     did not think that a particularized injury was created in
                                                                     the Northern District of Texas or that a substantial part of
The parties also disagree about how judicial efficiency should
                                                                     the events giving rise to the claim occurred there because
be considered under this factor. The Chamber asserts that this
                                                                     customers in Fort Worth “will potentially feel the effects of
factor accounts for “judicial knowledge of a case” and says
                                                                     the Rule.” And finally, the district court found that Fort Worth
that because the district court has reviewed the Chamber's
                                                                     citizens had no particular interest in adjudicating the case in
claims by entering a preliminary injunction, transfer would be
                                                                     comparison to any other city in the country.
inefficient. CFPB disagrees, asserting that the merits of the
rulemaking challenge have not yet been addressed, so a new
                                                                     With respect, this analysis clashes head-on with our recent
court would have little to catch up on. The district court didn't
                                                                     decision in In re Clarke, which provided significant guidance
address whether its familiarity with the case affects this factor,
                                                                     on how to analyze the localized-interest factor. There, we
so we only observe that a district court doesn't foreclose §
                                                                     explained that “[w]e do not consider the parties' connections
1404(a) transfer by ruling on a preliminary injunction that
                                                                     to the venue because the local interest analysis is a
requires prompt attention. The statute sets no time limit on
                                                                     public interest factor. Accordingly, the local-interest inquiry
when a § 1404(a) motion can be brought, 50 which suggests            is concerned with the interest of non-party citizens in
that some familiarity with the case does not create judicial
                                                                     adjudicating the case.” 54 We directed courts to consider
efficiency such that this factor weighs in favor of transfer.
                                                                     “the location of the injury, witnesses, and the [p]laintiff's
                                                                     residence” because those considerations “are useful proxies
In sum, the “practical problems that make trial of a case easy,
                                51                                   for determining what local interests exist in each venue.” 55
expeditious and inexpensive”         does not weigh in favor of
                                                                     Here, we further clarify how to determine whether there are
                                                                     localized interests.



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                                                                 with a 3D printer. 64 Yet we did not hold that the citizens
Localized interests are present when “the citizens of the        of New Jersey had a local interest in the case because
forum have a sufficient interest in the controversy to justify   New Jersey's legislature drafted and voted on the bill in
burdening them with jury duty.” 56 “Jury duty is a burden        New Jersey. Instead, we explained that “[t]he controversy
that ought not to be imposed upon the people of a community      over New Jersey's statute is not ‘localized’ to New Jersey”
which has no relation to the litigation. In cases which touch    because the New Jersey Attorney General “projected himself
the affairs of many persons, there is reason for holding the     across state lines and asserted a pseudo-national executive
trial in their view and reach rather than in remote parts of     authority in Texas by seeking to bar Defense Distributed
the country where they can learn of it by report only.” 57       from publishing its material anywhere, chilling its speech,
Consider Volkswagen II, where the original venue lacked          and reducing Texans' access to [its] materials.” 65 The events
contacts with the lawsuit. The case concerned a car accident     leading up to the announcement of the Final Rule and its
that “occurred in the Dallas Division, the witnesses to the      promulgation are likewise not the type of events we look to
accident live[d] and [were] employed in the Dallas Division,     under this factor.
Dallas police and paramedics responded and took action, the
[vehicle] was purchased in Dallas County, the wreckage and       Moreover, “the effect of this suit is completely diffuse,”
all other evidence [was] located in Dallas County” and most      just as it was in In re Clarke. 66 If the Chamber prevails,
of the plaintiffs lived in the Dallas Division. 58 Because the   the Final Rule will be blocked from going into effect;
Dallas Division was home to almost all the events and people     indeed, the preliminary injunction that is in place already
involved, there were local interests in Dallas. 59               has a “nationwide effect” while the litigation proceeds. 67
                                                                 Accordingly, the local interest of citizens is the same in
 *9 Not all cases are “localized” like Volkswagen II. In         “virtually any judicial district or division in the United
re Planned Parenthood concerned “Planned Parenthood              States”—all citizens will experience the effect of this
operations—and the provision of Medicaid funds—statewide.        litigation on their potential credit card late fees. 68 Interests
Furthermore, the defendants and the witnesses [were] located     that are “completely diffuse” in this manner “cannot affect
across the state and across the country.” 60 We concluded        the local-interest determination. That's because the interest is
that “this [was] not the sort of localized case where the        the same in both the transferor and transferee venue. These
citizens of Austin ha[d] a greater ‘stake’ in the litigation     completely diffuse local interests net out to zero—neither
than the citizens of Amarillo.” 61 In fact, we agreed with the   favoring nor disfavoring transfer.” 69
district court “that Austin citizens had no more interest in
having this case decided at home than any other Texan.” 62       In sum, the district court clearly abused its discretion by
In our view, a challenge to an agency's Final Rule that is       determining that D.C. residents had a localized interest in
set to affect credit card issuers and customers nationwide is    this case just because the Final Rule was promulgated there.
similarly not a “localized” case. Final Rules are not meant to   This is not a “localized” case, the events surrounding the
be “localized”—they are usually designed to affect the entire    announcement of the Final Rule are not the kind of events that
nation. That's why plaintiffs seek nationwide injunctions        give rise to local interests, and any localized interests in this
when a final rule is poised to go into effect—they seek to       case are “completely diffuse” and thus neutral—they neither
block the effect across the nation. Therefore, this case is      favor nor disfavor transfer.
not one where Fort Worth citizens have a lesser stake in the
litigation than D.C. citizens.
                                                                                                2
This is true even though the Agency actions that resulted
in the Final Rule occurred in D.C. While we focus on             Finally, we consider “the administrative difficulties flowing
         63
“events,” our precedent supports that the events involved        from court congestion.” 70 The district court determined that
in the passage of a law or the promulgation of a rule are        this factor weighs “heavily” in favor of transfer because
not the type of events that courts should consider under         the Northern District of Texas “has a significantly busier
this factor. Defense Distributed concerned, in part, a New       docket.” It came to this conclusion because “each Judge in the
Jersey statute that criminalized the manufacture of weapons      Northern District of Texas saw an average of 287 more filings



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than each Judge in the D.D.C.” and “cases are resolved faster        [to] demonstrate’ that its chosen venue is ‘clearly more
in the D.D.C.... [as] [t]he median time for disposition of a case    convenient.’ ” 74 To do this, CFPB “must show (1) that
in D.D.C. is 6.1 months [versus] 6.5 months in the Northern          the marginal gain in convenience will be significant,
District of Texas.” It added that because these times are not        and (2) that its evidence makes it plainly obvious—i.e.,
far apart, this factor would not usually have a large impact         clearly demonstrated—that those marginal gains will actually
on the transfer analysis, but “given Plaintiffs' insistence that
                                                                     materialize in the transferee venue.” 75
time is of the essence in this case,” the factor weighs “more
heavily” in favor of transfer.
                                                                     We have thus far held that the district court clearly abused
                                                                     its discretion in finding that the practical problems and local-
 *10 The district court's consideration of docket congestion
                                                                     interest factors weigh in favor of transfer. That leaves only
and the efficiency of resolution was not, in and of itself,
                                                                     court congestion weighing in favor of transfer. But this
a clear abuse of discretion. 71 Certainly, the district court        factor, we have repeatedly held, cannot justify transfer. “It
can ably assess the demands of its own docket (although              is well-settled law that § 1404(a) transfer cannot be granted
speculation about other districts' dockets seems altogether
                                                                     solely because of court congestion.” 76 This is because court
           72
different).    However, the district court also said that this       congestion “is speculative and ignores the plaintiffs' role
factor “more heavily favors transfer” because of “Plaintiffs'
                                                                     as master of the complaint.” 77 Accordingly, CFPB has not
insistence that time is of the essence in this case.” Parties'
                                                                     satisfied the good-cause standard—D.D.C. is not “clearly
assertions that their case needs to be decided quickly should
not affect the weight of this factor. To the extent that the         more convenient” than the Northern District of Texas. 78
district court references the Chamber's efforts to obtain an
expeditious ruling on its preliminary-injunction motion, that
rationale for speed is no longer present because a preliminary                                     III
injunction has been entered. There is no special circumstance
present here that would make a five-to-six-week difference           Only one question remains: whether mandamus relief is
weigh “more heavily” in favor of transfer.                           warranted.

Finally, the parties disagree about whether the district court's     Our settled precedent lays out three requirements for a writ
familiarity with this case should affect this factor because         of mandamus:
another court would need time to familiarize itself with the
case. As explained above, the statute sets no time limit on
when a § 1404(a) motion must be brought, which reveals that
some familiarity with a case does not have a strong effect on                     (1) the party seeking issuance of the
how any factor should be weighed. We also note that here the                      writ [must] have no other adequate
district court's familiarity arose because it faced a motion for a                means to attain the relief he desires—
preliminary injunction that required prompt resolution. Venue                     a condition designed to ensure that the
                                                                                  writ will not be used as a substitute
also requires prompt resolution. 73 The district court acted
                                                                                  for the regular appeals process; (2) the
quickly by addressing venue after regaining jurisdiction. In
                                                                                  petitioner must satisfy the burden of
this circumstance, the fact that the district court already
                                                                                  showing that [his] right to issuance of
entered a preliminary injunction does not lessen the weight of
                                                                                  the writ is clear and indisputable; and
this factor in favor of transfer because of familiarity. In sum,
                                                                                  (3) even if the first two prerequisites
the district court did not abuse its discretion in finding this
                                                                                  have been met, the issuing court, in
factor weighs in favor of transfer.
                                                                                  the exercise of its discretion, must be
                                                                                  satisfied that the writ is appropriate
                                                                                  under the circumstances. 79
                                D

As a reminder, the “good cause” standard applicable
to § 1404(a) transfer motions “requires [CFPB] ‘clearly



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 *11 “[W]e are not to issue a writ to correct a mere abuse of         the circumstances.” 90 “[W]rits of mandamus are supervisory
discretion, even though such might be reversible on a normal          in nature and are particularly appropriate when the issues
appeal.” 80 Rather, “a writ is appropriate to correct a clear         also have an importance beyond the immediate case.” 91 This
                                                                      is a case where the issues implicate not only these parties'
abuse of discretion.” 81 “A district court abuses its discretion
                                                                      interests, but the interests of all parties who litigate against
if it: (1) relies on clearly erroneous factual findings; (2) relies
                                                                      government defendants located in D.C. and seek to have their
on erroneous conclusions of law; or (3) misapplies the law to
                                                                      cases heard by judges and juries outside the nation's capital.
the facts.” 82 When we review a transfer order as part of a
                                                                      Granting mandamus is also appropriate when we “clarify to
mandamus petition, “we review for these types of errors, but
                                                                      this district court and others” how to engage in the § 1404(a)
we only will grant mandamus relief when such errors produce
                                                                      transfer analysis. 92
a patently erroneous result.” 83
                                                                      Summing up: Each and every requirement for mandamus
Taking the three requirements in order:
                                                                      relief is met here. We do not question the assiduousness of our
                                                                      district court colleague. But we do urge district courts—once
Our precedent is clear that “the first ‘mandamus requirement
                                                                      again—to prudently adopt a practice “especially deserving
is satisfied in the motion-to-transfer context.’ ” 84                 of commendation”: staying their venue-transfer orders for
                                                                      a short time so that opposing parties may have time to
The second requirement is that “the right to issuance of the
                                                                      seek review, if warranted, on a less hurried/harried basis. 93
                                           85
writ [must] be clear and indisputable.” The district court            Doing so here would have avoided—not once but twice—
erred in two principal ways: (1) considering the convenience          the unfortunate circumstance of considering a mandamus
of counsel under the “all other practical problems” factor, in        proceeding on a highly expedited timeline. Controlling venue
disregard of our precedents which had already settled that            and transfer rules preclude sending this case to Washington,
“the convenience of counsel is not a factor to be assessed”           D.C. With surpassing respect for the conscientious district
under § 1404(a); 86 and (2) misapplying our precedents to             court judge, we conclude on these facts and this record that
find that D.C. residents have a localized interest in the             mandamus relief is appropriate.
disposition of this case. This is not a localized case; the events
surrounding the promulgation of a Final Rule are not events                                        ***
that create localized interests; and any localized interests here
are completely diffuse. These errors are not “mere abuse[s]           *12 Accordingly:
                                                        87
of discretion” but “clear abuse[s] of discretion.”   “And,
                                                                        • Our administrative stay of the transfer order is
as we observed in TikTok, we have granted mandamus for
                                                                          DISSOLVED.
less egregiously erroneous transfers. Indeed, in Radmax, we
granted mandamus when ‘three factors weighed in favor of                • The petition for a writ of mandamus is GRANTED.
                                                88
transfer’ and ‘five factors were neutral.’ ” Here again, our
                                                                        • The district court is directed to vacate its May 28 transfer
recent In re Clarke decision, which granted mandamus relief
and which we are bound to follow, is instructive. There, as                order. 94
here, there was only one factor, congestion, that arguably
weighed in favor of transfer. 89 Indeed, the parallels between        All Citations
In re Clarke and this case are striking.
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That leaves the final requirement—whether, in the exercise
of our discretion, we think “the writ is appropriate under




                                                              Footnotes




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*      Judge Haynes concurs in the judgment.

1      In re Fort Worth Chamber of Com., 100 F.4th 528 (5th Cir. 2024).

2      We administratively stayed this second transfer order before the transferee court docketed the case.

3      See 15 U.S.C. § 1665d(a)–(e).

4      Id.

5      12 C.F.R. Part 1026.

6      For simplicity, we refer to the group of plaintiffs as “the Chamber.”

7      The Chamber argues in its complaint that CFPB violated the Appropriations Clause, exceeded its statutory
       authority, offered a deficient analysis and reasoning, and adopted an effective date that violates another
       statute.

8      The district court had previously found good cause to expedite briefing.

9      That appeal was docketed in our court under case number 24-10248.

10     That petition was docketed in our court under case number 24-10266.

11     In re Fort Worth Chamber of Com., 100 F.4th at 531. This opinion more fully details the procedural history of
       this case as it relates to the effective denial of the preliminary injunction.

12     Id. at 538.

13     51 F.4th 616, 623 (5th Cir. 2022).

14     CFPB v. Cmty. Fin. Servs. Ass'n, Ltd., 601 U.S. 416, 420, ––– S.Ct. ––––, ––– L.Ed.2d –––– (2024) (“In this
       case, we must decide the narrow question whether this funding mechanism complies with the Appropriations
       Clause. We hold that it does.”).

15     This appeal was case number 24-10248.

16     In re Clarke, 94 F.4th 502, 507 n.1 (5th Cir. 2024).

17     Once more, “[t]his case again highlights why a district court should stay a transfer order for a short period
       so that opposing parties may appeal it.” In re Fort Worth Chamber of Com., 100 F.4th at 542 (Oldham,
       J., concurring). When there is no stay, we must act on an expedited timeline that can produce needless
       inter-circuit complications. We again exhort our district court colleagues throughout the circuit to stay venue-
       transfer orders for a brief time to avoid the frenzy of unnecessarily rushed mandamus proceedings. In re
       Clarke, 94 F.4th at 507 n.1.

       Notably, three of Texas's four federal judicial districts have taken steps to push pause on certain transfer
       orders, giving opposing parties time to oppose them and reviewing judges time to review them. (The Northern
       District of Texas rule has been adopted. It's just not effective yet.) The Eastern District of Texas delays
       the transmittal of a case to the transferee court for 21 days. E.D. Tex. L.R. CV-83(b) (“Absent an order to
       the contrary, no sooner than the twenty-first day following an order of the court transferring or remanding
       a case, the clerk shall transmit the case file to the directed court.”). The Southern District of Texas stays
       transfers outside the Fifth Circuit for 21 days. Gen. Or. 2024-2 (S.D. Tex. Feb. 28, 2024) (“[U]nless all affected
       parties consent to the transfer, an order that transfers a civil case or civil miscellaneous matter to a district



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       court outside the Fifth Circuit is stayed for 21 days from the date the order is entered on the docket.”). The
       Northern District of Texas has proposed a nearly identical 21-day rule for transfers outside the circuit. Barring
       modification, this rule will take effect on September 3, 2024. Special Or. No. 2-99 (N.D. Tex. June 17, 2024).

18     Id. at 515–16.

19     Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 62 n.6, 134 S.Ct. 568, 187 L.Ed.2d
       487 (2013).

20     Def. Distributed v. Bruck, 30 F.4th 414, 433 (5th Cir. 2022). “ ‘Venue’ refers to locality, the place within
       the relevant judicial system where a lawsuit should be heard according to the applicable statutes or rules.”
       14D CHARLES ALLEN WRIGHT & ARTHUR MILLER, FEDERAL PRACTICE & PROCEDURE § 3801 (4th
       ed.). The general requirements for venue are found in 28 U.S.C. § 1391(b). Section 1392(e)(1) contains the
       requirements for when the defendant is an officer or employee of the United States. The Chamber relies on
       this latter provision for venue in this case.

21     In re TikTok, Inc., 85 F.4th 352, 357 (5th Cir. 2023).

22     CFPB contends that venue is improper in Fort Worth, so the district court appropriately gave the Chamber's
       choice of venue less deference. CFPB initially moved to transfer only under § 1404(a), not § 1406(a), which
       governs cases that are “in the wrong division or district.” When it renewed its motion, it moved under both
       statutes. The district court explicitly ruled only on the initial § 1404(a) motion. Its transfer order did not address
       whether venue is proper is the Northern District of Texas. Some district courts and Wright & Miller suggest
       that “[t]ransfer is possible under Section 1404(a) only if the transferor court is a proper venue.” WRIGHT &
       MILLER, supra note 20, § 3850, n.11 (collecting cases). Our circuit has not addressed whether transfer under
       § 1404(a) is predicated on venue being proper in the transferor court, and the parties don't discuss whether
       it is. Accordingly, we will not opine on this issue today. See United States v. Sineneng-Smith, 590 U.S. 371,
       375, 140 S.Ct. 1575, 206 L.Ed.2d 866 (2020) (“[W]e rely on the parties to frame the issues for decision and
       assign to courts the role of neutral arbiter of matters the parties present.” (quoting Greenlaw v. United States,
       554 U.S. 237, 243, 128 S.Ct. 2559, 171 L.Ed.2d 399 (2008))). Nor will we decide whether venue is proper
       in the Northern District of Texas. See Rest. L. Ctr. v. U.S. Dep't of Lab., 66 F.4th 593, 597 (5th Cir. 2023)
       (“[W]e have repeatedly observed, we are a court of review, not first view.” (citation omitted)). In any event,
       the district court clearly abused its discretion in its transfer order for the reasons stated herein.

23     In re Volkswagen of Am., Inc. (Volkswagen II), 545 F.3d 304, 308, n.2, 313, 315 (5th Cir. 2008).

24     Id. (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 507, 67 S.Ct. 839, 91 L.Ed. 1055 (1947)).

25     Id.

26     Id. at 314 (emphasis omitted) (quoting Veba-Chemie A.G. v. M/V Getafix, 711 F.2d 1243, 1247 (5th Cir.
       1983)).

27     28 U.S.C. § 1404(a).

28     Norwood v. Kirkpatrick, 349 U.S. 29, 32, 75 S.Ct. 544, 99 L.Ed. 789 (1955).

29     Volkswagen II, 545 F.3d at 315 (quoting Humble Oil & Refin. Co. v. Bell Marine Serv., 321 F.2d 53, 56 (5th
       Cir. 1963)).

30     In re Clarke, 94 F.4th 502, 508 (5th Cir. 2024) (citation and internal quotation marks omitted).




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31     Id. (citation omitted).

32     Id. (citations omitted).

33     Id. (emphasis in original).

34     Volkswagen II, 545 F.3d at 316. These factors were first enunciated in Gilbert as factors relevant to the forum
       non conveniens inquiry. Gilbert, 330 U.S. at 508, 67 S.Ct. 839.

35     Id. at 315 (quoting In re Volkswagen AG (Volkswagen I), 371 F.3d 201, 203 (5th Cir. 2004)).

36     In re TikTok, 85 F.4th at 358 (alteration in original) (quoting In re Radmax, Ltd., 720 F.3d 285, 290 n.8 (5th
       Cir. 2013)); see also Volkswagen II, 545 F.3d at 315.

37     In re Planned Parenthood Fed'n of Am., Inc., 52 F.4th 625, 630 (5th Cir. 2022); see also Volkswagen II, 545
       F.3d at 312; Volkswagen I, 371 F.3d at 203.

38     Volkswagen II, 545 F.3d at 315.

39     Id.

40     In re Horseshoe Ent., 337 F.3d 429, 434 (5th Cir. 2003) (per curiam).

41     Norwood, 349 U.S. at 32, 75 S.Ct. 544 (“This is not to say that the relevant factors have changed or that
       the plaintiff's choice of forum is not to be considered, but only that the discretion to be exercised [under §
       1404(a)] is broader.”).

42     WRIGHT & MILLER, supra note 20, § 3850.

43     Id.

44     Id.

45     Volkswagen I, 371 F.3d at 206; see also In re Horseshoe Ent., 337 F.3d at 434 (“The factor of ‘location of
       counsel’ is irrelevant and improper for consideration in determining the question of transfer of venue. Neither
       the plaintiff nor the Middle District Court favored us with a citation to any Supreme Court or Circuit Court
       decision recognizing the appropriateness of this factor nor have they cited any statutory text or any legislative
       history indicating the intention of Congress that such a factor be considered in deciding a motion to transfer.”).

46     In re Clarke, 94 F.4th at 515–16.

47     In re Fort Worth Chamber of Com., 100 F.4th at 540 (Oldham, J., concurring).

48     Def. Distributed, 30 F.4th at 433.

49     Formaldehyde Inst., Inc. v. U.S. Consumer Prod. Safety Comm'n, 681 F.2d 255, 262 (5th Cir. 1982) (per
       curiam).

50     Our caselaw suggests only that parties who seek a transfer must act with reasonable promptness. Utterback
       v. Trustmark Nat'l Bank, 716 F. App'x 241, 245 n.9 (5th Cir. 2017) (per curiam).

51     Volkswagen II, 545 F.3d at 315.

52     See id.




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53     See id.

54     In re Clarke, 94 F.4th at 511.

55     Id.

56     5 ANNOTATED PATENT DIGEST § 36:175.50.

57     Koehring Co. v. Hyde Constr. Co., 324 F.2d 295, 296 (5th Cir. 1963).

58     Volkswagen II, 545 F.3d at 317–18.

59     Id.

60     In re Planned Parenthood, 52 F.4th at 632.

61     Id.

62     Id. at 631–32.

63     In re Clarke, 94 F.4th at 511.

64     Def. Distributed, 30 F.4th at 434.

65     Id. (quotation marks and citation omitted) (alteration in original).

66     In re Clarke, 94 F.4th at 512.

67     Id.

68     Id. at 510.

69     Id.

70     Volkswagen II, 545 F.3d at 315.

71     See In re Clarke, 94 F.4th at 510 (“After evaluating its own docket efficiency, the district court reasoned
       that D.D.C. would be able to resolve this case in a more expeditious manner. It was not clearly an abuse of
       discretion for the court to find that congestion favored transfer.”).

72     Id. at 515.

73     We have said that “§ 1404(a) motions [are] ‘a top priority in the handling of a case.’ ” In re TikTok, 85 F.4th
       at 363 (quoting In re Horseshoe Ent., 337 F.3d at 433).

74     In re Clarke, 94 F.4th at 508 (quoting Volkswagen II, 545 F.3d at 315).

75     Id. (emphasis in original).

76     Id. at 515.

77     Id.

78     Id. at 508.

79     Volkswagen II, 545 F.3d at 311 (alterations in original) (internal quotation marks omitted).



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80     Id. at 310.

81     Id.

82     Id. (quoting McClure v. Ashcroft, 335 F.3d 404, 408 (5th Cir. 2003)).

83     Id.

84     In re TikTok, 85 F.4th at 358 (quoting In re Radmax, Ltd., 720 F.3d 285, 287 n.2 (5th Cir. 2013) (per curiam)).

85     Volkswagen II, 545 F.3d at 311.

86     Volkswagen I, 371 F.3d at 203; see also In re Horseshoe Ent., 337 F.3d at 434.

87     Volkswagen II, 545 F.3d at 310.

88     In re Clarke, 94 F.4th at 516 (citing In re TikTok, 85 F.4th at 358 and In re Radmax, 720 F.3d at 290).

89     Id.

90     Volkswagen II, 545 F.3d at 311.

91     Id. at 319.

92     In re Fort Worth Chamber of Com., 100 F.4th at 542 (Oldham, J., concurring).

93     In re Clarke, 94 F.4th at 507 n.1.

94     Again, transfer to D.C. was not complete because we stayed the transfer order before it was docketed in the
       transferee court, so there is no need to direct the district court to reopen the case and request the case back.



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